Case 1:15-cv-06119-AJN-JLC Document 236-1 Filed 01/27/17 Page 1 of 9




          Exhibit A
   Case 1:15-cv-06119-AJN-JLC Document 236-1 Filed 01/27/17 Page 2 of 9



UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK


STEVEN E. GREER, MD                    )
                                       )
                                       )         CIVIL ACTION NO.
                                       )
           Plaintiff;                  )        15-CV-6119 (AJN)(JLC)
                                       )
     v.                                )
                                       )
                                       )    NOTICE OF DEPOSITION OF
ROBERT SERPICO and                     )        KIRK SWANSON
THE BATTERY PARK CITY                  )
AUTHORITY                              )
                                       )
           Defendants.                 )
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                                             Steven Greer, pro se
                                             4674 Tatersall Court
                                             Columbus, Ohio 43230
                                             (212) 945-7252
                                             steve@batterypark.tv




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     Case 1:15-cv-06119-AJN-JLC Document 236-1 Filed 01/27/17 Page 3 of 9



       PLEASE TAKE NOTICE that, pursuant to Rule 30 of the Federal Rules of Civil

Procedure, Steven Greer will take the deposition of Kirk Swanson on January 20, 2017,

commencing at 10:00 AM at the federal courthouse located at 500 Pearl Street, New York,

New York, courtroom 6A. The deposition might be videotaped and taken before a notary

public and certified shorthand reporter who might record the deposition stenographically.



Dated: December 14th, 2016
       New York, NY


Steven Greer, pro se
4674 Tatersall Court
Columbus, Ohio 43230
(212) 945-7252




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   Case 1:15-cv-06119-AJN-JLC Document 236-1 Filed 01/27/17 Page 4 of 9



UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK


STEVEN E. GREER, MD                    )
                                       )
                                       )         CIVIL ACTION NO.
                                       )
           Plaintiff;                  )        15-CV-6119 (AJN)(JLC)
                                       )
     v.                                )
                                       )
                                       )    NOTICE OF DEPOSITION OF
ROBERT SERPICO and                     )        ROBERT SERPICO
THE BATTERY PARK CITY                  )
AUTHORITY                              )
                                       )
           Defendants.                 )
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     Case 1:15-cv-06119-AJN-JLC Document 236-1 Filed 01/27/17 Page 5 of 9



       PLEASE TAKE NOTICE that, pursuant to Rule 30 of the Federal Rules of Civil

Procedure, Steven Greer will take the deposition of defendant Robert Serpico on January 20,

2017, commencing at 12:00 PM at the federal courthouse located at 500 Pearl Street, New

York, New York, courtroom 6A. The deposition might be videotaped and taken before a

notary public and certified shorthand reporter who might record the deposition stenographically.



Dated: December 14th, 2016
       New York, NY


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Columbus, Ohio 43230
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   Case 1:15-cv-06119-AJN-JLC Document 236-1 Filed 01/27/17 Page 6 of 9



UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK


STEVEN E. GREER, MD                    )
                                       )
                                       )         CIVIL ACTION NO.
                                       )
           Plaintiff;                  )        15-CV-6119 (AJN)(JLC)
                                       )
     v.                                )
                                       )
                                       )    NOTICE OF DEPOSITION OF
ROBERT SERPICO and                     )        DENNIS MEHIEL
THE BATTERY PARK CITY                  )
AUTHORITY                              )
                                       )
           Defendants.                 )
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     Case 1:15-cv-06119-AJN-JLC Document 236-1 Filed 01/27/17 Page 7 of 9



       PLEASE TAKE NOTICE that, pursuant to Rule 30 of the Federal Rules of Civil

Procedure, Steven Greer will take the deposition of defendant Dennis Mehiel on January 20,

2017, commencing at 12:00 PM at the federal courthouse located at 500 Pearl Street, New

York, New York, courtroom 6A. The deposition might be videotaped and taken before a

notary public and certified shorthand reporter who might record the deposition stenographically.



Dated: December 14th, 2016
       New York, NY


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   Case 1:15-cv-06119-AJN-JLC Document 236-1 Filed 01/27/17 Page 8 of 9



UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK


STEVEN E. GREER, MD                    )
                                       )
                                       )         CIVIL ACTION NO.
                                       )
           Plaintiff;                  )        15-CV-6119 (AJN)(JLC)
                                       )
     v.                                )
                                       )
                                       )    NOTICE OF DEPOSITION OF
ROBERT SERPICO and                     )        KEVIN MCCABE
THE BATTERY PARK CITY                  )
AUTHORITY                              )
                                       )
           Defendants.                 )
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     Case 1:15-cv-06119-AJN-JLC Document 236-1 Filed 01/27/17 Page 9 of 9



       PLEASE TAKE NOTICE that, pursuant to Rule 30 of the Federal Rules of Civil

Procedure, Steven Greer will take the deposition of defendant Kevin McCabe on January 20,

2017, commencing at 2:00 PM at the federal courthouse located at 500 Pearl Street, New York,

New York, courtroom 6A. The deposition might be videotaped and taken before a notary

public and certified shorthand reporter who might record the deposition stenographically.



Dated: December 14th, 2016
       New York, NY


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